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                                              U.S. Department of Justice
                                              Civil Division, Appellate Staff
                                              950 Pennsylvania Ave. NW, Rm. 7215
                                              Washington, DC 20530

                                                                     Tel: 202-514-1838

                                              September 3, 2024

VIA CM/ECF

Mark Langer, Clerk of Court
U.S. Court of Appeals for the D.C. Circuit
333 Constitution Avenue, NW
Washington, DC 20001

RE:          TikTok, et al. v. Garland, Nos. 24-1113, 24-1130, 24-1183 (D.C. Cir.)
             Oral Argument Scheduled for September 16, 2024

Dear Mr. Langer:

       As the oral argument approaches, I submit this letter to remind the Court that
this case involves classified information, which has been made available to the
judges of this Court through the Classified Information Security Officers, under
appropriate security arrangements. As the Court is aware, the government has filed
a motion for the Court to consider various information in the government’s brief
and in its appendix ex parte and in camera.

       The classified information has been made available to the judges of this
Court by the Department of Justice with the understanding that the secrecy of this
information will be properly protected. See 28 C.F.R. §§ 17.17, 17.46 (providing
that classified information may be disclosed by Justice Department attorneys to
Article III judges, as long as proper security measures are taken). Neither
petitioners nor their counsel have had access to, or are cleared to receive, this
classified information.

      The government is prepared to argue this case publicly, in an open
courtroom, without referring to the contents of the classified information itself. If
the Court has questions about the classified information or wishes to discuss it,
however, or if it becomes necessary for government counsel to answer questions
by referring to the contents of this information, our understanding is that the Court
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will make the necessary arrangements with the Classified Information Security
Officer, so the classified material can be discussed in a secure environment.

       We also ask that the Court notify counsel if it plans to hold a closed session,
so proper arrangements may be made for government counsel’s copy of the
classified material to be available at oral argument.

       Please contact me if there are any questions or problems. Thank you for your
attention to this matter.

                                        Sincerely,

                                        /s/ Daniel Tenny
                                        Daniel Tenny
                                        Attorney, Appellate Staff
                                        950 Pennsylvania Ave. NW, Rm. 7215
                                        Washington, DC 20530
                                        202-514-1838
                                        Daniel.Tenny@usdoj.gov

cc:   Counsel of Record (via CM/ECF)




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